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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY



 IN RE NEWELL BRANDS, INC.
 SECURITIES LITIGATION
                                                       Civil Action No. 18-10878 (JMV)

                                                                  ORDER


John Michael Vazpuez, U.S.D.J.

       For the reasons set forth in the accompanying Opinion, and for good cause shown,

       IT IS on this 10th day of December, 2019,

       ORDERED that Defendants’ motion to dismiss Plaintiff’s First Amended Consolidated

Complaint, D.E. 32, is GRANTED and Plaintiffs First Amended Consolidated Complaint, D.E.

28, is DISMISSED without prejudice; and it is further

       ORDERED that Plaintiff shall have thirty (30) days to file an amended complaint, which

cures the deficiencies noted in the accompanying Opinion. If Plaintiff does not do so, this matter

will be dismissed with prejudice.



                                                                   Q\tr       /
                                                    John’ Michael Vazq9z, L9S.D.J.
